     Case 8:22-ap-01101-SC           Doc 27 Filed 08/21/23 Entered 08/21/23 15:38:23               Desc
                                      Main Document    Page 1 of 2



 1   Charles L. Murray III, SBN. 195053
 2   Service Address:
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 3   West Hollywood, California 90069
     Telephone: (213) 627-5983
 4   Facsimile: (213) 627-6051
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 6   Creditors and Plaintiffs CHANHEE LEE and SUNGEUN LEE

 7
 8
                                    UNITED STATES BANKRUPTCY COURT
 9
                      CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10
     In re:
11                                                             Case No:    8:22-bk-11409-SC
              DAVE S. BANG and ANNICE J HAN
12                                                             Adversary Case No: 8:22-ap-01101-SC
                              Debtors
13
                                                               Hon: Scott C. Clarkson
     ________________________________________
14
     CHANHEE LEE and SUNGEUN LEE                               Chapter 7
15
                              Plaintiffs
16
                                                               STATUS REPORT
                      v.
17
     DAVE S. BANG, aka SUNG KWAK BANG and
18
     ANNICE J HAN, aka ANNICE BANG
19
                             Defendants
20
21            This Court granted Plaintiffs’ request for relief of the bankruptcy stay on January 24, 2023 to

22   litigate Chanhee Lee vs. The Ark of Love Community Church et. al., Case No. 30-2018-01040198-CU-

23   PPO-CJC (hereinafter “State Court Action”).

24            The “State Court Action” is set trial for April 29, 2024.

25   DATE: August 21, 2023
26
27
                                                              CHARLES L. MURRAY III
28


                                                          1

                                                   STATUS REPORT
        Case 8:22-ap-01101-SC                      Doc 27 Filed 08/21/23 Entered 08/21/23 15:38:23                                     Desc
                                                    Main Document    Page 2 of 2



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
8605 Santa Monica Boulevard, PMB 82716, West Hollywood, Ca 90069


                                                                      STATUS REPORT
A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
08/21/2023
_______________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 Richard A Marshack (TR) pkraus@marshackhays.com, rmarshack@iq7technology.com;
 ecf.alert+Marshack@titlexi.com Charles L Murray cmurray@cm3law.com, cm3esquire@gmail.com
 United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
              08/21/2023
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

 Dave S Bang aka Sung Kwak Bang 27 Dietes Ct #141 Ladera Ranch, CA92694-0806
 Annice J Han aka Annice Bang 27 Dietes Ct #141 Ladera Ranch, CA92694-0806


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

08/21/2023         CHARLES L. MURRAY III                                                       /S/
 Date                     Printed Name                                                          Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
